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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

AMBER L. TRIPP,                               )
                                              )
               PLAINTIFF,                     )
                                              )      Civil Action No. 18-cv-1365
               v.                             )
                                              )      Hon. Thomas M. Durkin
                                              )
PAN AM COLLECTIONS, INC.                      )      Magistrate Daniel G. Martin
                                              )
                                              )
               DEFENDANT(S).                  )


                           PLAINTIFF’S MOTION FOR LEAVE
                         TO FILE FIRST AMENDED COMPLAINT

       NOW COMES the Plaintiff, Amber L. Tripp, by and through her attorneys, TOMEI

LAW, P.C. and for her Motion for Leave to File her First Amended Complaint, Plaintiff states as

follows:

       1.      Plaintiff filed her original pleading in this matter on February 22, 2018.

       2.      Plaintiff’s Complaint alleged that Defendant, Pan Am Collections, Inc.,

(hereinafter “Defendant” or “Pan Am”), violated the Fair Debt Collection Practices Act.

       3.      Since the date of filing her original pleading, Plaintiff has ascertained that there

are sufficient grounds to justify the filing of an amended complaint in this matter for conduct the

Defendant has engaged in following service of the summons and original complaint.

       4.      Plaintiff now moves this Honorable Court for leave to file an amended pleading

pursuant to Rule 15 of the Federal Rules of Civil Procedure.

       5.      The allegations included in Plaintiff’s proposed amended complaint: (i) clarify

factual circumstances previously pleaded, (ii) expound upon legal theories previously delineated,
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(iii) assert claims that arise from the same set of operative facts as those previously set forth and

(iv) set forth allegations against an individual Defendant, Daniel L. Kohlenberg, the registered

agent, president, and chief operating officer of Defendant Pan Am.

       6.      The aforesaid allegations included in Plaintiff’s proposed amended complaint

serve to ensure that Plaintiff’s rights, as well as those rights are fully adjudicated on the merits.

       7.      Rule 15 provides that leave to amend a complaint “shall be freely given when

justice so requires.” Fed. R. Civ. P. 15(a)(2).

       8.      The function of Rule 15(a) of the Federal Rules of Civil Procedure is to enable a

party to assert matters that were unknown or overlooked at the time the original complaint was

interposed. Trustees of Graphic Communication Int'l Union Local 229 Health & Welfare Fund v.

Rapid Copy, Inc., 620 F. Supp. 202, 207 (D. Minn. 1985).

       9.      The Supreme Court has recognized that the spirit of the Federal Rules of Civil

Procedure is to have controversies decided on their merits and has favored amendments for the

purpose of presenting the real issues of a case where the moving party has acted in good faith and

the opposing party will not be unduly prejudiced. Forman v. Davis, 371 U.S. 178, 182 (1962). In

Forman, the Supreme Court noted that “Rule 15(a) declares that leave to amend ‘shall be freely

given when justice so requires’; this mandate is to be heeded.” Id.

       10.     This motion is not being brought in bad faith, for the purposes of harassment or to

unnecessarily delay these proceedings.

       11.     Defendant was served with the original complaint and summons in this matter on

March 4, 2018. Defendant’s answer to Plaintiff’s Complaint is, therefore, due to be filed on or

about March 26, 2018. To date, no appearances have been entered for the Defendant, no answer

has yet been filed, no formal discovery has taken place and no deadlines or other dates will be
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impacted by this Court granting Plaintiffs’ motion for leave to file an amended pleading.

Moreover, Defendant will not be unduly prejudiced by this Court granting Plaintiff’s motion.

          12.    Plaintiff seeks to amend her complaint to include additional allegations against

the Defendant, including individual counts against Daniel L. Kohlenberg, claims under the

Illinois Consumer Fraud Act against Defendant Pan Am and proposed Defendant Daniel L.

Kohlenberg, and a revised prayer for relief in the aforementioned Illinois Consumer Fraud counts

requesting that the court award the Plaintiff punitive damages.

          13.    Plaintiff brings this motion expeditiously upon learning that additional

allegations, including naming Defendant Daniel L. Kohlenberg, may be appropriate in this

matter.

          14.    Plaintiff shall be greatly prejudiced if not permitted to amend her complaint as

aforesaid.

          15.    A true and exact copy of Plaintiff’s proposed amended complaint is attached

hereto as Exhibit A. A redlined version of Plaintiff’s proposed amended complaint, illustrating

the proposed changes from the Original Complaint is attached hereto as Exhibit B.

          WHEREFORE, Plaintiff, Amber L. Tripp, respectfully requests that this Honorable Court

enter an order granting Plaintiff leave to file her First Amended Complaint as delineated above.

                                                                         Respectfully Submitted,
                                                                             AMBER L. TRIPP

                                                                    By:   s/ Robert J. Tomei Jr.
                                                                     One of Plaintiff’s Attorneys
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                                     CERTIFICATE OF SERVICE

        I, Robert J. Tomei Jr., an attorney, hereby certify that on March 22, 2018, I electronically

filed the foregoing document using the CM/ECF system, which will send notification of such

filing to all attorneys of record.

                                                                            Respectfully Submitted,
                                                                                AMBER L. TRIPP

                                                                         By: /s/ Robert J. Tomei Jr.
                                                                        One of Plaintiff’s Attorneys

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